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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




                    STATE DEFENDANTS’ BRIEF IN RESPONSE TO
               THE UNITED STATES’ MOTION FOR SUMMARY JUDGMENT



                               APPENDIX BB
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                              IN THE UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION


 LA UNION DEL PUEBLO ENTERO, et al.,               §
       Plaintiffs,                                 §
                                                   §
  v.                                               §    Case No. 5:21-cv-844-XR
                                                   §
  GREGORY W. ABBOTT, et al.,                       §
       Defendants.                                 §




DECLARATION OF JONATHAN WHITE
          I, Jonathan White, pursuant to 28 U.S.C. 1746, am executing this declaration as part of my

assigned duties and responsibilities. I declare under penalty of perjury that the facts stated below

are true and correct to the best of my personal knowledge and belief.

       1. I am over 18 years of age, of sound mind, and otherwise competent to make this
          Declaration. The evidence set out in the foregoing Declaration is based on my personal
          knowledge.

       2. I am the former Division Chief of the Election Integrity Division of the Office of the
          Attorney General of Texas and submit this Declaration in support of the State’s Motion for
          Summary Judgment in the above-captioned case.

       3. I have been involved in election fraud prosecutions as some portion of my work since I
          started at the Attorney General’s office 15 years ago in the White Collar Crime and Public
          Integrity Section of the Criminal Prosecutions Division. Through the years, our election
          caseload expanded, resulting in the creation of an Election Fraud Section, and ultimately
          the Election Integrity Division. In that time, I have reviewed hundreds of investigations,
          and handled approximately 100 prosecutions, many of which were complex, involving
          multiple, if not dozens, of election offenses.

       4. The Election Integrity Division receives complaints about potential election fraud
          forwarded primarily from the Secretary of State’s office. Our investigators then determine
          whether the facts support an allegation of fraud, and, if warranted, the Election Integrity
          Division prosecutes the offenses or assists counties in prosecuting the offenses. This
          prosecution role has evolved somewhat since the end of 2022.



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5. During my tenure as Division Chief of the Election Integrity Division, I became familiar
   with the administration and operations of Texas elections, including the tasks, practices,
   and responsibilities that local Texas election authorities must fulfill; and the laws and
   regulations with which local election authorities must comply to plan, coordinate, manage,
   and execute a successful election.

6.




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12.




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16.

                                    the Court of Criminal Appeals’ ruling in State v. Zena
      Stephens, which declared the AG’s statutorily granted authority to prosecute election cases
      unconstitutional.

17. All mail ballots, due to their nature of being handled and voted outside of a polling location,
                                                                           In the polling location,
    in-person voters have election judges and poll watchers to make sure that there is no
    electioneering; no harassment, pressure, or persuasion being placed on the voter to vote a
    certain way; that no one is marking the voter’s ballot without authorization; and that the
    vote is actually turned in, counted, and not altered by any person. Paid operatives are not
    allowed to loiter in the polling place, or to collect ballots from voters and remove them
    from the polling place, with a promise to turn them in later on behalf of the voter.
                                                                . There are laws prohibiting many
    of these bad acts,




18.




                                                              The City of Carrolton spans three
      different counties,


19.




20.


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21.




22.
                                                                                              Once
      processed and removed from their envelopes, ballots are entirely anonymous and
      untraceable. They cannot be identified for removal from counting. Additionally, once a
      voter requests a mail ballot, they are unable to vote at a polling place without surrendering
      their mail ballot or going to election headquarters to file paperwork, including a sworn
      affidavit.




23.




24.




25.




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31.




32.




33. Prior to SB1, one requirement intended to protect the integrity of the mail ballot was
    comparing the signature on the carrier envelope with the signature on the application for
    ballot by mail or another signature on file.



34.




35.




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36.




37.




38.




39.                                                                              in
      Gregg County.


                                 Shannon Brown, Marlena Jackson, Charlie Burns, and

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      DeWayne Ward were indicted and pled guilty to election fraud




40. SB1 requires a voter to provide an ID number (either a driver’s license, Texas ID, election
    identification certificate, DPS-issued personal identification card number, or the last 4
    digits of an SSN) in order to apply for and cast a ballot by mail.




41.




42.



43.




44.



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